               Case:Judgment
ILND 450 (Rev01/2015) 1:16-cv-10007
                             in a Civil ActionDocument   #: 28 Filed: 04/27/17 Page 1 of 1 PageID #:298

                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

Twin City Fire Insurance Company,

Plaintiff(s),
                                                                Case No. 16 C 10007
v.                                                              Judge Jorge L. Alonso

Park Ridge Real Estate Investments, Inc. ,

Defendant(s).

                                           JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                         which        includes       pre–judgment interest.
                                      does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


               other: This case is dismissed without prejudice for lack of subject matter jurisdiction because no
actual controversy exists at this time.

This action was (check one):

     tried by a jury with Judge Jorge L. Alonso presiding, and the jury has rendered a verdict.
     tried by Judge Jorge L. Alonso without a jury and the above decision was reached.
     decided by Judge Jorge L. Alonso on a motion for entry of final judgment.



Date: 4/27/2017                                             Thomas G. Bruton, Clerk of Court

                                                            Nicole Fratto , Deputy Clerk
